Case 1:17-cv-01224-LJV Document 1-1 Filed 11/27/17 Page 1 of 27

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

TODD WHEELER KELLER

Plaintiff,
17-CV-

MARY C. LOEWENGUTH
PATRICK J. HEALY
ROBERT H. JACKSON

Defendants.

 

INDEX PURSUANT TO LOCAL CIVIL RULE 81

Exhibit 1: Summons, Complaint, and all attachments.

 
Case 1:17-cv-01224-LJV Document 1-1 Filed 11/27/17 Page 2 of 27

EXHIBIT 1

 
se 1:17-cv-01224-LJV
New von S85 Supreme Court

Eire County Supreme: land

 

Keller, Todd Wheeler: man;
claimant/private prosecutor;

 

Loewenguth, Mary C: woman;
Healy, Patrick J: man;

Jackson, Robert H: man: _
Wrongdoer(s)/Respondent(s);

 

Document 1-1 Filed 11/27/17 Page 3 of 27

FILep
LA/24/2017/ = 15229233
ERIE COUNTY CLERK

RCHB1 Pods #B6 736

@tgi/Summons with Notice
rrivate and Confidential

Index No._J 20/7- /GO

To the Above Natural Person(s) named as Wrongdoer(s)/Respondent(s):

PLEASE TAKE NOTICE THAT YOU ARE HEREBY SUMMONED to appear in this action by

serving a notice of appearance on the claimant at the address set forth below, and to do so within 20

days after the service of this claim/summons (not counting the day of service itself), or within 30 days

after service is complete if claim/summons is not delivered personally to you within New York state;

YOU ARE HEREBY NOTIFIED THAT should you fail to answer or appear, a nihil dicit

judgment will be entered against you by default for the relief demanded: { see attached notice };

Dated: November 21, 2017
Date of Claim/Summons

Loewenguth, Mary C: woman;
Healy, Patrick J: man;

Jackson, Robert H: man;
Wrongdoer(s) name

united States Courthouse

c/o 2 Niagara Square

Buffalo, New York

Postal Extension{14202}
Wrongdoer(s) business address

   

Attica, New Yo
Private Non-Domestic

Postal Extension{14011- ~9998}
claimants’s business address

Without the “Municipal/ Territorial U.S./ U.S.A,,” INC.

 
Case 1:17-cv-01224-LJV Document 1-1 Filed 11/27/17 Page 4 of 27

notice

The nature of this claim/action is: A declaration of wrong: trespass and injury { unlawfully
administered restrained and monopolized trade-business-property }, { see attached notice 5

The relief sought is:

1.

Cf.

The right to prosecute and move a claim, as man, into a “court of record” — land
jurisdiction; without the “Municipal/ Territorial U.S./ U.S.A.,” INC. — foreign jurisdiction

Two million eight hundred seventy-five thousand dollars { $2,875,000.00 }, per wrongdoer
{ Exhibit C };

{ Acceptable forms of payment: Bitcoin; American Silver Eagles};

As required by law, i require said wrongdoers provide me their Bonding Company
information;

In commerce, it is a felony for a Political/ Public Official to not report a claim to its
Bonding Company, and a felony for the Bonding agent to not pay the claim;

Wrongdoer(s) have already failed or refused to respond: {Exhibit A};

A nihil dicit judgment is now required for the sum of: Two million eight hundred seventy-
five thousand dollars { $2,875,000.00 } { Exhibit C }, per wrongdoer, forthwith;

Should Wrongdoer(s)/Respondent(s) fail to appear herein, a nihil dicit judgment will be entered for
the sum of: Two million eight hundred seventy-five thousand dollars { $2,875,000.00 }per
wrongdoer;

There will be $100.00 per day on all arrears payments, starting December 26, 201 7;

Venue:

Claimant/Petitioner designates Erie County — land jurisdiction as the place of trial. The
basis of this designation is:

Claimant is a man living on the land known as new york: Union-state: Wyoming
County — land jurisdiction; —

 

Lo Wrongdoer(s)/Respondent(s) are men/ women living on the land known as new york:

—+—_

Union-state: Erie County ~ land jurisdiction;

e Other Wrongdoer(s) John Doe 1-10 unknown at this time.

Without the “Municipal/ Territorial U.S./ U.S.A.,” INC,

 

 
Case 1:17-cv-01224-LJV Document 1-1 Filed 11/27/17 Page 5 of 27

 

Firstly:

 

notice

‘man’s right to prosecute a claim’

 

i, a man, present a verified Declaration of Fact: October 13, 2017

i: the living man, who goes by the copyrighted Trade Name: Todd Wheeler Keller, the claimant,
aggrieved party, and acting private prosecutor, in this instant matter, attest my lawful and verified.
political status is that of a “non-federal, non-citizen, non-resident, non-person, non-combatant,”
American state national, and ‘New Yorker { ¢ have, by recorded affirmation, rebutted any and all
assumptions/presumptions to the contrary }, and my lawful right, and basis to prosecute and move
this claim/case { not a complaint, and without the private and foreign corporate administrative
rules, procedures, etc. of the private, foreign and bankrupt Municipal “UNITED STATES,”
LINC. } the Territorial “US.A.,” { Inc. } or its “Federal State,” aha. “State of New York” or
“STATE OF NEW YORK,” { Inc. }: Incorporated franchise of said Federal corporations, oper-
ating in international furisdiction of the sea, under color of law, on American soil }, pursuant |
American common law of man, is that i require, wish and order the use of this venue, as a “court of
record? — land Jurisdiction, to seat a jury: if needed, in which i prosecute and move my claim/case
before, to determine and render a verdict, as to what man/woman has the lawful right to admin-
ister, restrain, monopolize and/or interfere with my trade-business-property, causing me injury;

RIGHT: i, a man, do not require a “CIVIL RIGHT” when i already possess inherent rights;

Cf Private Prosecutor: One who sets in motion the machinery of criminal justice against a person

whom he suspects or believes to be guilty of a crime, by laying an accusation before the proper
authorities, and who is not himself an officer of justice. [Heacock v. State, 13 Tex. App. 129;
State v. Millain, 3 Nev. 425.] Emphasis Added;

 

 

| Black’s Law 5" Ed. ]

Without the “Municipal/ Territorial U.S,/ U.S.A,” INC, PAGE 1 of 8

 

 

 

 
 

Case 1:17-cv-01224-LJV Document1-1 Filed 11/27/17 Page 6 of 27

 

notice

‘man’s right to prosecute a claim”

 

C f. A private prosecutor is one who prefers an accusation against a party whom he suspects to be
guilty. Every man may become a prosecutor....... The prosecutor has an inducement to prosecute,
because he cannot, in many cases, have any civil remedy until he has done his duty to society by an
endeavor to bring the offender to justice. Emphasis Added:

_Bouvier's Law Revised 6th Ed,, 1856 |

Cf _ Prosecutor: 1. To seek to obtain by legal process; as, to prosecute a right in a court of law. 2. To

accuse of some crime or breach of law, or to pursue for redress or punishment, before a legal
tribunal; as, to prosecute a man for trespass or for a riot. [Webster’s Dictionary 1828, ] Emphasis
Added;

C of. _ Wrongdoer: One who commits an injury; a tort-feasor. The term ordinarily imports an invasion of
right to the damage of the party who suffers such invasion;

| Black's Law Revised 4" 1968

 

 

Cf. Claim: A demand of right or supposed right; a calling on another for something due, or supposed to
be due, [Webster’s Dictionary 1828);

Cf. Claim: A claim is a right or title, actual or supposed, to a debt, privilege, or other thing in the

possession of another; not the possession, but the means, by or through which the claimant obtains
the possession or enjoyment. [Lawrence v. Miller, 2 N.Y. 245, 254.];

Cf. Claim: To demand as one’s own or as one’s right; to assert; to urge; to insist. Cause of action.

Means by or through which claimant obtains possession or enjoyment of privilege or thing.

Demand for money or property, p-—~-- ~~~ ==
| Black’s Law 5" Ed. |

C f- A “court of record” is a judicial tribunal having attributes and exercising functions indepen-

dently of the person of the magistrate designated generally to hold it, and proceeding accor-

ding to the course of common law, its acts and proceedings being enrolled for a perpetual memorial.
_ [Jones v. Jones, 188 Mo. App. 220, 175 S.W. 227, 229; Ex parte Gladhill, 8 Metc., Mass., 171, per

Shaw, C. J. See, also, Ledwith v. Rosalsky, 244 N.Y. 406, 155 N.E. 688, 689.] Emphasis Added;

 

_ Black's Law Revised 4" Ed. 1968

Cf. In Suits at common law.....the right of trial by jury shall be preserved,.....;

| Seventh Amendment |

Without the “Municipal/ Territorial U.S,/U.S.A.,” INC. PAGE 2 of 8

 

 

 

 
Case 1:17-cv-01224-LJV Document 1-1 Filed 11/27/17 Page 7 of 27

notice

‘man’s right to prosecute a claim’

 

 

Secondly: 1. . Geraci, Frank P Jr: a man; dba. CHIEF “JUDGE”. Public Servant; Fiduciary-Ti rustee;

2. Loewenguth, Mary C: a woman; wrongdoer; dba. CLERK OF COURT: Public Servant;
Fiduciary-Tr rustee; Debtor; .

3, Healy, Patrick J: a man; wrongdoer; d.b.a. CHIEF DEPUTY CLERK; Public Servant;
Fiductary-Trustee; Debtor; and

4. Jackson, Robert H: a man; wrongdoer; d.b.a. Public Servant; Fiduciary-Tr rustee; Debtor;

Place of business: c/o united States Courthouse, 2 ‘Niagara Square, Buffalo, New York,
Postal Extension {14202}, were ‘presented notice: { Exhibit A}, dated September 15, 2017, via
Certified Mail Return Receipt No. 7016 1370 0000 9186 8301, in response to their notice, dated
September 13, 201 7, stating; “Your case/documents will not be filed in the Western District of New
York.....you have not complied with the Federal Rules of Civil Procedure and/or the Local Rules of
this district.” { Exhibit B }-

In responding with my own aforementioned notice, 1, a man, claimed my lawful right, NOT
domiciled within their foreign “district”: international furisdiction of the sea { organized as a “U.S.
District Court” }, to prosecute and move my claim/case, pursuant American common law of man,
via a “court of record”: an Article 111 constitutional court: land furisdiction { organized as Federal
Postal District Courts, a.k.a. a federal court }, without the inferior private, foreign and bankrupt
corporate “UNITED STATES DISTRICT COURT.” { INC. }: operating in international

| furisdiction of the sea: { entrusted to and operated by the British Monarchs, operating in fraud,
deceit and Breach of Trust, under color of law, on American soif }, and without the private and

foreign corporate administrative rules, procedures, etc. of said court;

 

 

Without the “Municipal/ Territorial U.S/ U.S.A,” INC. PAGE 3 of 8

 

 
Case 1:17-cv-01224-LJV Document 1-1 Filed 11/27/17 Page 8 of 27

nofice

‘man’s right to prosecute a claim’

 

 

All “US. District Courts” or “State of State” courts are ‘U.S. military - Liber Code contro-
fled { provistons of the Reconstructive Acts: March 2, 1867 (14 Stat. 428) }, and BAR. supervised |
{ Departments of the Army & Navy Field Manual 27-5, 1947 Ed, Par. 12¢, Pg. 20. }, private,

foreign and bankrupt quasi-military administrative tribunals /courts, operating in international
jurisdiction of the sea, addressing Maritime/Admiralty issues, under color of law, on American soil;

Said courts, their rules, codes, procedures, etc. ONLY ‘pertain to “U.S. citizens,” “citizens of
the U.S.,” “U.S, employees,” “U.S. residents,” “legal persons,” etc. - all fictions in law, domiciled
within the furisdiction of the private, foreign and bankrupt Municipal “UNITED STATES,”

{ INC. } { as of 2015 Chap. 7 Liquidation }, the Territorial “U.S.A.” { Ane, } 1 as of 2017 Chap,
11 Reorganization }, and its “Federal State,” a.k.a. “State of New York” or “STATE OF NEW
YORK,” { Inc. }: Incorporated franchise of said Federal corporations;

_ 4a man, am none of the aforementioned. corporate fictions, nor am i domiciled within said
foreign jurisdiction, and therefore NOT “subject” to-and/or require, nor wish to use the private
rules, procedures, etc. of said jurisdiction or court, nor dot consent to and/or wish to operate tn
__ fiction, as a fiction { legal ‘person }, or under ‘private copyrighted corporate codes, rules, procedures,

statutes or “law,” when requiring redress in a “court of record”

Thirdly: Said wrongdoers, through their actions, inactions, and silence, have refused me redress; thereby,
administering, retraining, and monopolizing { without rights/my consent }, my inherent right to
trade-business-property, coercing me: their ‘fellow man, to endure duress, trespass, loss, continued
injury, etc. .

Said wrongdoers, via their silence, by way. of an un-rebutted declaration and agreement
{ Exhibit A}, have acquiesced to my claim of right and redress, creating an equitable estoppel,
agreeing unconditionally, to settle aff certified invoices: { Exhibit C }, billed two them;

 

Without the “Municipal/ Territorial U.S,/ U.S.A,” INC. PAGE 4 of 8

 

 

 

 
 

Case 1:17-cv-01224-LJV Document 1-1 Filed 11/27/17 Page 9 of 27

 

notice

‘man’s right to prosecute a claim’

 

Invoices, dated October 3, 2017, were presented to wrongdoer(s) on October 13, 2017, by
Certified Mail Return Receipt ‘No, 7016 1370 0000 9189 7377;

Said wrongdoers were given (30) days to respond, and settle this matter privately and have
failed or refused to do so:

Via acquiescence, through said wrongdoers silence, a nthil dictt ‘fudgment and settlement of
said invoices is now required, wished ‘for, and ordered, forthwith;

Cf. “Silence can only be equated with fraud where there is a legal or moral duty to speak or where an
inquiry left unanswered would be intentionally misleading”;

Cf “it has been stated that any enterprise undertaken by the public official which tends to weaken

public confidence and undermines the sense of security for individual rights is against public
policy.”; { 63C Am. Jur. 2d Public Officers and Employees, §247; Cf. several courts cases.
Emphasis Added;

Cf “Fraud in its elementary common law sense of deceit — and this is one of the meanings that fraud

bears [483 U.S. 372] in the Statute, see United States v, Dial, 757 F.2d 163, 168 (7th Cir, 1985) —
includes the deliberate concealment of material information in a setting of fiduciary obligation. A
public official is a fiduciary toward the public, including, in the case of a judge, the litigants who
appear before him, and if he deliberately conceals material information from them, he is guilty of

fraud...” { McNally v. United States, 483 U.S. 350 (1987) };

In the event, my orders are not carried out and said anvoices are not settled, forthwith, i
will be coerced to require, wish, order, and demand by right, pursuant and secured by The 1787
united American States Constitution: Article: 3, & Article: 6, cl. 2; 3, The 1789 united American
States Bill of Rights: Articles: 5; 7; 9, and The 1846 ‘New York State Constitution: Article: 1, §§ 2;
«6 & Article: 6, § 3, a “court of record,” “trial by jury,” be convened (22) days from notice, so that
said wrongdoers stand before The Keller Court, and answer for their trespass, continued injury, etc.
regarding my trade-business-property;

Without the “Municipal/ Territorial U.S,/ U.S.A,” INC. | PAGE 5 of 8

 

 

 

 
Case 1:17-cv-01224-LJV Document 1-1 Filed 11/27/17 Page 10 of 27

notice

‘man’s right to prosecute a claim’

 

 

Fourthly: Said wrongdoers are in breach of their corporate “Constitution of the United States,” { Inc. }: a
foreign Municipal corporate charter masquerading as a valid treaty document; |

i require said wrongdoers provide me a certified copy of their Oath of office and, as required
by law, their Bonding Company information;

dn commerce, it is a felony for a Political/Public Official to not report a claim to its

Bonding Company, and a felony for the Bonding agent to not pay the claim;

i, also require, wish and order said’ wrongdoers to not administer, restrain or monopolize my
right to trade-business-property any further; any man/woman doing so, causes me injury and
agrees to settle any certified invoices billed to them;

Fifthly: A verified declaration of wrong: trespass and injury, is hereby claimed: administered,
restrained and monopolized trade-business-property without rights/consent:

ia man, now require, wish and order redress; a magistrate; “court of record”. “trial by
fury”; pursuant and secured by:

Cf. Blackstone Commentary Volume 3, Chapter 23, § 378;

Cf The 1787 united American States Constitution: Article: 3, & Article: 6, cl. 2; 3;

Cf ‘The 1791 united American States Bill of Rights: Articles: 5; 7; 9;

Cf ‘The 1846 ‘New York State Constitution: Article: 1, §§ 2; 6 & Article: 6, § 3;
. i,a man, the aggrieved. party, claim that;

. the following said wrongdoers trespass upon property;

 

Without the “Munictpal/ Territorial U.S,/U.S.A.,” INC. | PAGE 6 of 8

 

 

 
_ Case 1:17-cv-01224-LJV. Document 1-1 Filed 11/27/17 Page 11 of 27

 

Sixthly:

 

notice

‘man’s right to prosecute a claim’

 

1. Loewenguth, Mary C: a woman; wrongdoer; d.b.a. CLERK OF COURT:
Public Servants; Fiduciary-Trustee; Debtor;

2. Healy, Patrick J: a man; wrongdoer; dba. CHIEF DEPUTY CLERK:
Public Servants; Fiduciary-T1 rustee; Debtor;

2. Jackson, Robert H: a man; wrongdoer; d.b.a. Public Servant; Fiduciary-T1 rustee;
Debtor;

. Other Wrongdoers: Federal Fiductary-Tt trustees; Employees; Public Servants; Actors;
Persons; men; women; John Doe(s)/ JOHN DOE(S) 1-10;

. the commencement of the wrong and injury began September 7, 2017, and continues to this
day;

‘ the said wrongdoers trespass comes by way of administering, restraining and monopotizing

trade-business-property;
. the trespass did, does and continues to injure trade-business-property;

’ i, require, wish and order compensation for the initial and continual trespass upon trade-
business-property;

. compensation due: Two million eight hundred. seventy-five thousand dollars: { Exhibit c }
{ $2, 875, 000.00 } EACH:

i, require and wish { the “non-foreign agent” } magistrate/fustice, and clerk of the court, handling
this matter, honor their Oath(s) of office: Protecting the property { rights } of man, by signing my
orders, and ‘forwarding said orders and invoices to said wrongdoers, forthwith;

 

Without the “Municipal/ Territorial U.S/US.A,,” INC. PAGE 7 of 8

 

 

 

 
Case 1:17-cv-01224-LJV Document 1-1 Filed 11/27/17 Page 12 of 27

 

a .
t

notice

‘man’s right to prosecute a claim’

*

©

aie

* ae

Seventhly: © BE ADVISED: When addressing the living man: a birthright American state national as

   

¥
*

*

   

myself, of the continental united American States, specifically the Union-state known as new
york - land. jurisdiction, in the foreign furisdiction of the Federal “United States” or that of a
“Federal State,” and deliberately confuse a living man with corporate franchises merely

named after them you commit unlawful conversion, personage, fraud, etc; this results in press-
ganging land assets into the international jurisdiction of the sea, a crime outlawed worldwide

for 200 years; it is a recognized act of inland. piracy and it carries the Death Penalty;

Mischaracterizing the identity or citizenship status of a living American state national
of the continental united American States is also an international war crime under the Geneva

Protocols of 1949, Volume 19, Article 3, It also carries the Death Penalty;

i: a man, verify on my own full commercial liability that i have read the above-verified
declaration of facts, and to the best of my knowledge, and belief do know the contents, to be true,
correct and complete, and not misleading, and do believe that the above-described trespasses and
injury have been committed contrary to law, i say here, and will verify in an open “court of
record” - land jurisdiction, that all herein be true;

Done this 13th Day of November 2017;

Witnessed By yx Loi

Dated: November 13, 2017;

Without the “Municipal/ Territorial US,/ U.S.A,” INC.

 

 

 

 

 
Case 1:17-cv-01224-LJV Document 1-1 Filed 11/27/17 Page 13 of 27

 

 

 

 

1 ict

L/21/2017/ 15229232
ERIE COUNTY CLERK
RCPT & 17204736

T 2017000160

Exhibit a

The Keller Court “presents Exhibit A:

1, Notice of Restraint, Dated September 15, 2017;

 

 

PAGE 1 of 1

 
Case 1:17-cv-01224-LJV Document 1-1 Filed 11/27/17 Page 14 of 27

o , oy CPx
notice of restraint ms
c/o Todd-Wheeler: Keller September 15, 2017
800 Exchange Street Road

Attica, New York: Nation-state
Private non-domestic
Postal Extension {14011-9998}

i, a man, presents notice to:

Frank P Geraci Jr, a man, and all assigns/designees
Mary C Loewenguth, a woman;

Patrick J Healy, a man;

Robert H Jackson, a man;

Kenneth B Keating, a man;

On September 7, 2017, i, a man, presented a claim, two invoices, and a few other documents, as The Keller Court,
a “court of record,” into “federal district court,” a “court of record,” at the “UNITED STATES DISTRICT
COURT WESTERN DISTRICT OF NEW YORK,” - a private foreign court of international jurisdiction;

i was told said documents would be reviewed by a “fudge” and a decision would be made whether or not they
would be filed. Correct me if i'm mistaken but i do believe that once your employee had accepted my documents
they should have been officially date stamped and. filed into the court;

On September 15, 2017, i received my documents back stating “you have not complied with the Federal Rule of
Civil Procedure and/or Local Rules of this district”. First off, your “district” is a foreign jurisdiction, in
regards to the Union-state known as new york. Neither my trade name/legal person or { am domiciled within
your “district,” or any other private foreign district,

As you know ia man, am not required to comply with your Rules/Procedures, nor do i consent to doing so, as
they ONLY pertain to legal PERSONS, Federal Employees, Residence, lawyers and/or other fictitious entities
domiciled within the “United States,” viz: a private foreign bankrupt corporation located in the District of
Columbia, its territories and the State of ‘New York, also known a private corporate franchise of the “United
States,” not the actual land or furisdiction of the Union-state known as new york;

i, a man, DO NOT wish to access your private foreign bankrupt corporate “UNITED STATES DISTRICT
COURT.” ’m invoking, by right, The Keller Court: a “court of record” - a Public court: in “federal court;” a
right guaranteed to me from birth and. ‘protected by The Organic Bill of Rights: Articles 7 &’ 9, and The Organic

‘New York State Bill of Rights. As you well know, there is no Federal Rule, Code or Procedure that prohibits a
man from accessing and invoking a “court of record” - land jurisdiction of the Union-state; new york;

Certified Mail No. 7016 1370 0000 9186 8391 PAGE 1 of 2

 
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Case 1:17-cv-01224-LJV Documenti1-1 Filed 11/27/17 Page 15 of 27

FILED
Li/24/2017/ 15329233

 

 

ERTE_COUMTY cLony

FE ETT

RCPT & 17204736
I 2017000160

Exhibit B

 

The Keller Court presents Exhibit B:

1, Notice: “Your case/documents will not be filed in the Western District of ‘New
York....”, Dated September 13, 2017;

2. ‘Notice: “Your case/documents will not be filed in the Western District of New
York....”, Dated September 28, 2017;

 

 

PAGE 1 of 1

 
Case 1:17-cv-01224-LJV Document 1-1 Filed 11/27/17 Page 16 of 27

OFFICE OF THE CLERK
UNITED STATES DISTRICT COURT C8
WESTERN DISTRICT OF NEW YORK
Robert H. Jackson MARY C, LOEWENGUTH Kenneth B. Keating
United States Courthouse CLERK OF COURT Federal Building
2 Niagara Square , 100 State Street, Room 2120
Buffalo, New York 14202 PATRICK J. HEALY Rochester, New York 14614
Phone: 716-551-1700 CHIEF DEPUTY CLERK Phone: 585-613-4000
Fax: 716-551-1705 Fax: 585-613-4035
NOTICE

Date: September 13, 2017

Todd Wheeler Keller
800 Exchange Road
Attica, New York 14011-9998

Your recent submission of:

YY New Case |

Documents on case number:

 

gE

has been identified as an irregular filing pursuant to the Western District of New York's
Local Rules related to the filing of a Miscellaneous Case and/or irregular Documents. A
copy of our Local Rule enclosed.. _— .

Please note the following:

___. We are returning your filing fee until a determination has been made on
whether your case will be filed in the Western District of New York. We will
advise you of the Court’s determination as soon as your submission is
reviewed.

Vv Your case/documents will not be filed in the Western District of New York

and we are returning them to you because you have not complied with the
Federal Rules of Civil Procedure and/or the Local Rules of this district.

United States District Court
Office of the Clerk

http:/Avww. nywd.uscourts.gov

Sore

 
 

Case 1:17-cv-01224-LJV Document 1-1 Filed 11/27/17 Page 17 of 27

OFFICE OF THE CLERK» apy
UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF NEW YORK

Robert H. Jackson MARY C. LOEWENGUTH Kenneth B. Keating

United States Courthouse ; CLERK OF COURT Federal Building

2 Niagara Square 100 State Street, Room 2120

Buffalo, New York 14202 PATRICK J. HEALY Rochester, New York 14614

Phone: 716-551-1700 oO CHIEF DEPUTY CLERK Phone: 585-613-4000

Fax: 716-551-1705 Fax: 585-613-4035
NOTICE

Date: September 28, 2017.

Todd Wheeler Keller
800 Exchange Road
Attica, New York 14011-9998

Your recent submission of:

x New Case
Documents on case number:

 

has been identified as an irregular filing pursuant to the Western District of New York's
Local Rules related to the filing of a Miscellaneous Case and/or irregular Documents. A
copy of our Local Rule enclosed.

Please note the following:

—.__ We are returning your filing fee until a determination has been made on
whether your case will be filed in the Western District of New York. We will
advise you of the Court's determination as soon as your submission is
reviewed.

x. Your case/documents will not be filed in the Western District of New York

and we are returning them to you because you have not complied with the
Federal Rules of Civil Procedure and/or the Local Rules of this district.

United States District Court
Office of the Clerk

~ ....http:/Awww. nywd.uscourts.gov

 
Case 1:17-cv-01224-LJV Document 1-1 Filed 11/27/17 Page 18 of 27

 

 

FILE

LA/2U/2017/ = 15129233
ERIE COUNTY CLERK
RCPT # 17204736

T 20170001460

Exhibit C

 

The Keller Court ‘presents Exhibit C:

1. Certified Invoice: 287MCL; dated November 8, 2017; order;
2. Certified Invoice 287PJH; dated November 8, 2017; order;

3. Certified Invoice 287 RH; dated November 8, 2017; order;

 

 

PAGE lof1 .-

 
Case 1:17-cv-01224-LJV Document1-1 Filed 11/27/17 Page 19 of 27

 

 

 

Invoice ~ Verified

TODD WHEELER KELLER™
Not All Trespasses or Fees Have Been Listed or Assessed

 

Billed To: Loewenguth, Mary C: woman: Debtor Certified Invoice: 287MCL
c/o 2 Niagara Square November 8, 2017

Buffalo, New York: Nation-state

Continental usa {14202}

FOR: Charges under Un-rebutted Agreement; Invoice Dated: September 15; October 3, of 2017; Trespass; Injury;

 

DESCRIPTION: TRESPASS; INJURY

Administered Property without Rights / Consent ~ Breach of Oath; Duty; Trust; Good Faith ~
Monopolized Trade-Business-Property ~ Restrained Trade-Business-Property ~ Research, Time;

Energy Consumed ~ Constructive Fraud ~ Nonfeasance ~ Malfeasance ~ Etc.;

 

01. Administered Property w/ Rights / Consent: $2,250,000;
02. Breach of Oath; Duty; Trust; Good Faith: $100,000;

03. Monopolized Trade-Business-Property: $100,000;

04. Restrained Trade-Business-Property; $100,000;

05. Research, Time; Energy Consumed: $25,000;

06. Constructive Fraud: $100,000;

07. Nonfeasance: $100,000;

08. Malfeasance: $100,000;

TOTAL = $ 2,875,000.00 |
TWO MILLION EIGHT HUNDRED SEVENTY-FIVE THOUSAND DOLLARS ZERO CENTS

 

 

 

 

 

Fees and billing subject to change; Preferable forms of payment: American Silver Eagle Dollars: “lawful money,”
pursuant Article 1, Section 10, CL. 1, at the $1 face value of the Silver Dollar, The Coinage Act of 1792 defines the value
of a “Dollar” as a coin containing 371.25 grains of pure silver and will be considered to be 1 oz. united American States
Dollar, unless proven otherwise; Other forms of consideration: Bitcoin; Litecoin; Ethereum; Federal Reserve Notes;

Non-Negotiable PAGE | of 2

 

 

 
 

 

Case 1:17-cv-01224-LJV Document1-1 Filed 11/27/17 Page 20 of 27

 

Please make payable to TODD WHEELER KELLER™
Addressed To:

TODD WHEELER KELLER™
c/o Todd Wheeler Keller

800 Exchange Street Road
Attica, New York: Nation-state
Private Non-Domestic

Postal Extension {14011-9998}

Total due in Thirty (30) days, after 30 days Invoice may be recorded with the County Registrar;
$100.00 per day on all arrears payments; Thank you for your business;

Whoever does Business with My Debtor Becomes My Debtor;

Operating in Peaceful Private International Trade;

Without the Territorial and Municipal “U.S. / U.S.A.,” INC.;

 
    

Vy:
Kellen Todd Wheele
for TODD

Certified Invoice: 287MCL

NOTARY PUBLIC’S JURAT:

BEFORE ME, the undersigned authority, a Notary Public, for Wyoming County — New York State, this 8th Day of
November 2017, Keller, Todd-Wheeler: a man: Settlor/Beneficiary for TODD WHEELER KELLER™, did appear and
was identified, and who does duly attest that the foregoing claim/invoice is true, correct, and complete to the best of his
knowledge and belief and will verify in a “court of record” — land jurisdiction; ae

WITNESS my hand and official, seal: /s/ 7A ales fants SEAL | Oe .

Notary Public ~

All Rights Reserved ~ Errors and Omissions = Excepted ~ Without Recourse ~ Without Prejudice ~ Nom Ascumpsit
Notice to agent constitutes notice to all principles; notice to principles constitutes notice to all agents

Non-Negotiable . | PAGE 2 of 2 .

 

 

 
 

Case 1:17-cv-01224-LJV Document1-1 Filed 11/27/17 Page 21 of 27

 

order

claim/case number:

The Keller Court “presents an or der to:

Mary C Loewenguth, a woman
c/o united States Courthouse

2 Niagara Square

Buffalo, New York

Private Non-Domestic

Postal Extension { 14202 }

The Keller Court, requires and orders by right, good. faith, and good cause, having been shown by declaration, and
to further the interest of ‘justice, that Mary C Loewenguth, a woman, honor, and settle, forthwith, Certified
Invoice: 287MCL for the unlawful trespass, and continued injury, during her official duties; :

It is required and ordered that Mary C Loewenguth provide, The Keller Court, a certified copy of her Oath of
office, and bonding information;

It is required and ordered that Mary C Loewenguth notify, forthwith, her indemnifiers and file a claim with her
indemnifiers, regarding said trespass and continued injury;

 

 

 

By: Date
Magistrate/Justice/Judge
By: Date.
Clerk of the Court .
| Certified as a true copy:
By: Date
Clerk of the Court

 

Without the “Munictpal/ Territorial US. /US.A.,” INC.

 

 

 

 
 

Case 1:17-cv-01224-LJV Document 1-1 Filed 11/27/17 Page 22 of 27

 

_ Invoice ~ Verified
TODD WHEELER KELLER™ _
Not All Trespasses or Fees Have Been Listed or Assessed

 

Billed To: Healy, Patrick J: man: Debtor Certified Invoice: 287PJH
c/o 2 Niagara Square November 8, 2017
Buffalo, New York: Nation-state

Continental usa {14202}

FOR: Charges under Un-rebutted Agreement; Invoice Dated: September 15; October 3, of 2017; Trespass; Injury;

 

DESCRIPTION: TRESPASS; INJURY

Administered Property without Rights /Consent ~ Breach of Oath; Duty; Trust; Good Faith ~
Monopolized Trade-Business-Property ~ Restrained Trade-Business-Property ~ Research, Time;

Energy Consumed ~ Constructive Fraud ~ Nonfeasance ~ Malfeasance ~ Etc.;

 

01. Administered Property w/ Rights / Consent: $2,250,000;
02. Breach of Oath; Duty; Trust; Good Faith: $100,000;

03. Monopolized Trade-Business-Property: $100,000;

04. Restrained Trade-Business-Property; $100,000;

05. Research, Time; Energy Consumed: $25,000;

06. Constructive Fraud: $100,000;

07. ‘Nonfeasance: $100,000;

08. Malfeasance: $100,000;

TOTAL = $ 2,875,000.00 OO
TWO MILLION EIGHT HUNDRED SEVENTY-FIVE THOUSAND DOLLARS ZERO CENTS

 

 

 

 

 

Fees and billing subject to change; Preferable forms of payment: American Silver Eagle Dollars: “lawful money,”
pursuant Article 1, Section 10, CL 1, at the $1 face value of the Silver Dollar, The Coinage Act of 1792 defines the value

of a “Dollar” as a coin containing 371.25 grains of pure silver and will be considered to be 1 oz. united American States

Dollar, unless proven otherwise; Other forms of consideration: Bitcoin; Litecoin; Ethereum; Federal Reserve Notes;

Non-Negotiable _ PAGE 1 of 2

 

 

 
 

 

Case 1:17-cv-01224-LJV Document 1-1 Filed 11/27/17 Page 23 of 27

 

Please make payable to TODD WHEELER KELLER™

Addressed To:

TODD WHEELER KELLER™
c/o Todd Wheeler Keller

800 Exchange Street Road
Attica, New York: Nation-state
Private Non-Domestic

Postal Extension {14011-9998}

Total due in Thirty (30) days, after 30 days Invoice may be recorded with the County Registrar;
$100.00 per day on all arrears payments; Thank you for your business;

Whoever does Business with My Debtor Becomes My Debtor;

Operating in Peaceful Private International Trade;

Without the Territorial and Municipal “U.S. / U.S.A.,” INC.;

   

By:

   

Keller, Todd
for TODD

Certified Invoice: 287PJH

NOTARY PUBLIC’S JURAT:

BEFORE ME, the undersigned authority, a Notary Public, for Wyoming County — New York State, this 8th Day of
November 2017, Keller, Todd-Wheeler: a man: Settlor/Beneficiary for TODD WHEELER KELLER™, did appear and
was identified, and who does duly attest that the foregoing claim/invoice is true, correct, and complete to the best of his
knowledge and belief and will verify in a “court of record” ~ land jurisdiction; .

WITNESS my hand and official, seal: /s/ LHihelee: Cash ___ SEAL i: 7 S

N otary Public (/ 2iooit

Todd-Wheeler: Creditor; Settlor; Executor; Beneficiary and Authorized Agent for TODD WHEELER: KELLER™
All Rights Reserved ~ Errors and Omissions Excepted ~ Without Recourse ~ Without Prejudice ~ Non-Assumpsit
Notice to agent constitutes notice to all principles; notice to principles constitutes notice to all agents

Non-Negotiable | : PAGE 2 of 2

 

 

 
 

Case 1:17-cv-01224-LJV Document 1-1 Filed 11/27/17 Page 24 of 27

 

order

claim/case number:

The Keller Court presents an order to:

Patrick J Healy, a man

c/o united States Courthouse

2 Niagara Square

Buffalo, New York: ‘Nation-state
Private Non-Domestic

Postal Extension { 14202 }

The Keller Court, requires and orders by right, good ‘faith, and good cause, having been shown by declaration, and
to further the interest of justice, that Patrick J Healy, aman, honor, and settle, forthwith, Certified Invoice:
287PJH for the unlawful trespass, and continued injury, during her official duties;

It is required and ordered that Patrick J Healy provide, The Keller Court, a certified copy of his Oath. of office,
and bonding information;

It is required and ordered that Patrick 4 Healy notify, forthwith, his indemnifiers and file a claim with his
indemnifiers, regarding said trespass and continued injury;

 

 

 

 

By: Date
Magistrate/Justice/Judge

By: Date
Clerk of the Court

Certified as a true copy:

By: Date. oo | By.
Clerk of the Court

 

Without the “Munictpal/ Territorial U.S. /US.A.,” INC.

 

 

 

 
Case 1:17-cv-01224-LJV Document 1-1 Filed 11/27/17 Page 25 of 27

 

 

Invoice ~ Verified

TODD WHEELER KELLER™
Not All Trespasses or Fees Have Been Listed or Assessed

 

Billed To: Jackson, Robert H: man: Debtor Certified Invoice: 287RHJ
c/o 2 Niagara Square November 8, 2017
Buffalo, New York: Nation-state

Continental usa {14202}

FOR: Charges under Un-rebutted Agreement; Invoice Dated: September 15; October 3, of 2017; Trespass; Injury;

 

DESCRIPTION: TRESPASS; INJURY.

~ Administered Property without Rights./ Consent ~, Breach of Oath; Duty; Trust ‘Good Faith ~

Monopolized Trade-Business-Property ~ Restrained Tiade-Business-Property ~ Research, Time;

 

“Energy Consumed ~ Constructive Fraud ~ " Nonfeasance + ~, - Malfeasance ~. Ete : oe a

 

01. Administered Property w/ Rights / ue gina
02. Breach of Oath; Duty; Trust; Good Faith: $100, 000;
~ .03. -Monopolized Trade-Business-Property: $100,000; |

04, Restrained Trade-Business-Property; $100, 000; :
* 05. " Research, Time;. Energy Consumed: $25, 000;

06. © Constructive Fraud: $100,000; - ee

- 07. Nonfeasance: $100,000;

-.. 08.: Malfeasance: $100,000;

| “TOTAL = $ 2,875,000.00 Ee RY |
“ “TWO MILLION EIGHT HUNDRED SEVENTY-FIVE THOUSAND DOLLARS ZERO GENTS

 

 

 

 

 

 

 

Fees and billing subject to change; Preferable forms of payment: American Silver Eagle Dollars: “lawful money,”
pursuant Article 1, Section 10, Cl. 1, at the $1 face value of the Silver Dollar, The Coinage Act of 1792 defines the value
of a “Dollar” as a coin containing 371.25 grains of pure silver and will be considered to be 1 oz. united American States
' Dollar, unless proven otherwise; Other forms of consideration: Bitcoin; Litecoin; Ethereum; Federal Reserve Notes;

Non-Negotiable PAGE 1 of 2

 

 

 
 

Case 1:17-cv-01224-LJV Document 1-1 Filed 11/27/17 Page 26 of 27

 

. WITNESS my hand and official, seal: /s/ Yechalllc, Cas Lp SEAL . ue

 

Please make payable to TODD WHEELER KELLER™

Addressed To:

TODD WHEELER KELLER™
c/o Todd Wheeler Keller

800 Exchange Street Road
Attica, New York: Nation-state
Private Non-Domestic

Postal Extension {14011-9998}

Total due in Thirty (30) days, after 30 days Invoice may be recorded with the County Registrar;
$100.00 per day on all arrears payments; Thank you for your business;

Whoever does Business with My Debtor Becomes My Debtor;

Operating in Peaceful Private International Trade;

Without the Territorial and Municipal “U.S. / U.S.A.,” INC.;

By:

 

Certified Invoice: 287RHJ

NOTARY PUBLIC’S JURAT:

BEFORE ME, the undersigned authority, a Notary Public, for Wyoming County — New York State, this 8th Day of
November 2017, Keller, Todd-Wheeler: a man: Settlor/Beneficiary for TODD WHEELER KELLER™, did appear and
was identified, and who does duly attest that the foregoing claim/invoice is true, correct, and complete to the best of his
knowledge and belief and will verify in a “court of record” — land jurisdiction; .

Notary PublicC/

Todd-Wheeler: Creditor; Settler; Executor; Beneficiary and Authorized Agent for TODD WHEELER KELLER™

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Notice to agent constitutes notice to all principles; notice to principles constitutes notice to all agents

Non-Negotiable - PAGE 2 of 2

 

 

 
 

 

Case 1:17-cv-01224-LJV Document 1-1 Filed 11/27/17 Page 27 of 27

 

order

The Keller Court “presents an order to:

Robert H Jackson, a man
c/o united States Courthouse
2 Niagara Square

Buffalo, New York

Private ‘Non-Domestic
Postal Extension { 14202 }

claim/case number:

The Keller Court, requires and orders by right, good ‘faith, and, good cause, having been shown by declaration, and
to further the interest of justice, that Robert H Jackson, a man, honor, and settle, forthwith, Certified Invoice:
287RH] for the unlawful trespass, and continued injury, during her official duties;

It is required and ordered that Robert H Jackson provide, The Keller Court, a certified copy of his Oath of office,

and bonding information;

It is required and ordered that Robert H Jackson notify, forthwith, his indemnifiers and He a claim with his

indemnifiers, regarding said trespass and continued ¢ injury;

By: . Date

 

 

Magistrate/Justice/Judge
[By: | _ Date
Clerk of the Court
Certified as a true copy:
By: Date
Clerk of the Court

Without the “Municipal/ Territorial U.S. /US.A,,” INC.

 

 

 

 
